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UN|TED STATES OF AN|ER|CA a%%§]q:`g{?&}&gm
Piaintiff

VS. -
CR. NO. 03-20465-D

PATR|CK MACKL|N

Defendant.

 

ORDER ON CONTINUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on Ju|y 21 , 2005. At that time, counsel for the
defendant requested a continuance of the August 1, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to September 6, 2005 with

a report date of Thursday, August 25l 2005l at 9:00 a.m., in Courtroom 3 9th F|oor of
the Federa| Buildingl Mernphis, TN.

 

The period from August 12, 2005 through September 16, 2005 is excludable under
18 U.S.C. § 3161(h)(8)(B)(iv) because the ends of justice served in allowing for additional
time to prepare outweigh the need for a speedy tria|.

lT |S SO ORDERED this §§ day Of Ju|y, 2005.

BERN|CE B. §ONALD §

UN|TED STATES DlSTR|CT JUDGE

This document entered o

with Rule 55 and/or 32(5) FRCrP on

 

 

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Honcrable Bernice Donald
US DISTRICT COURT

